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                                            NOTICE AND TEASE RENEWAL AGREEMENT
                                                   DEREGULATED APARTMENT

                                                                           DATE:   01/08/13

                  STEVEN GREER MD                                 MILFORD MANAGEMENT CORP.
                  MARINER'S COVE SITE B ASSOC. APT 35F            335 MADISON AVENUE
r                 200 RECTOR PLACE          #35F                  NEW YORK         NY 10017
p                 N'EW YORK NY' 10280
                  DEAR TENI~NT(S)
jl
                         Y'OTJR LEASE WILL EXPIRE ON APRIL          30, 2013 .

 ~                     WE HEREBY OFFER YOU THE OPTION OF RENEWING YOUR. CURRENT LEASE AT
                  THE TERMS AND CONDITIONS SET FORTH BELO4~.   YOU HAVE SIXTY (60)
 ~                DAYS PRIOR TO THE EXPIRATION OF' YOUR CURRENT LASE TO ACCEPT THIS
+~                OFFER AND RENEW. TF WE DO NOT RECEIVE YOUR COMPLETED FORM WITHIN THE
                  SPECIFIED TIME, YOUR LEASE WILL NOT BE RENEWED AND YOU WILL BE
:~                REQUIRED TO VACATE YOUR APARTMENT AT THE EXPIRATION OF YOUR LEASE.
                       BY ACCEPTING THIS RENEWAL, YOU ALSO ACCEPT AND AGREE TO ALL `1'HE
                  TERMS AND CONDITIOI~TS OF THE ATTACHED RIDER(S).
r
~~                     IF YOU WISH TO RENEW YOUR LEASE, INDICATE THE LENG'T'H OF THE LEASE
                  TERM XOU DESIRE. *KINDLY FILL IN THE NEW MONTHLY RENTAL BELQW WHERE
                  INDICATED AND RETi7RN ALL COPIES ALONG WITH THE ADDITIONAL SECURITY
                  PAYABLE TO MILFORD MANAGEMENT.
                         CURRENT SECURITY DEPOSIT: $        2,995.00.
                  ONE YEAR LEASE:(A)          COMMENCING: 05/01/13 ADDITIONAL SECURITY DEPOSIT;
                                              EI~TDING  :
                                                          04/30/14
j                 $3,395.00                                            $    400,00


                  TWO YEAR LEASE:(B)          COMMENCING: 05/01/13 ADDITIONAL SECURITY DEPOSIT:
                                              ENDING    :
                                                          04/30/1.5
                  $3,595.00                                            $    600.00


                         *I (WE) THE UNDERSIGNED TENANT(S), AGREE TO~FsNTER INTO A
                    1:    YEAR LEASE AT THE MONTHLY RENT OF $~~~
                         I (WE) UNDERSTAND THAT THIS LEASE RENEWAL IS BEING OF'FEREb UNDER
                  TFiE SAME TERMS AND CONDITIONS AS OUR. ORIGINAL LEASE AGREEMENT.
                  THIS FORM BECOMES A BINDING LEASE RENEWAL WHEN SIGNED BY THE OWI~TER
                  BELOV~I AND RETURNED TO 'I'HE TENANT.


                                        "




                  STEVEN C3REER     D            ,TENANT DATE LANDLORD                        ATE   ~~

                       IF YOU DO NOT WISH TO RENEV~1 YOUR LEASE, PLEASE SIGN YOUR NAME
                  BELOW, AND FILL TIV THE DATE AND RETURN SAME TO Qi7R OFFICE.


                         I (WE) DO NOT WISH TO RENEW MY (OUR) LEASE AND WILL VACATE
                   —TH~gREMISES UPON THE EXPIRATION DATE Ok' MY (OUR) CURRENT LEASE.



                    TENANT SIGNATURE                 DATE     TENANT SIGNATURE          DATE


j:                (A) MONTHLY RENT IN THE FIRST YEAR OF LEASE
~~- - -       -   (B)—MONTHLYRENT~IV—TI3E—SECOIQD~~12-0~'~E~1SE~F~IP~P~CAB~E
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                      WE HEREBY OFFER YOU THE OPTION OF RENEWING YOUR CURRENT LEASE AT
                 THE TERMS AND CONDITIONS SET FORTH BELOW.   YOU HAVE SIXTY (60)
                 DAYS PRIOR TO THE E~PTRATION OF YOUR CURRENT LEASE TO ACCEPT THIS
                 OFFER AND RENEW. TF WE DO NOT RECEIVE YOUR COMPLETED FORM WITHIN THE
                 SPECIFIED TIME, YOUR LEASE WILL NOT BE RENEWED AND YOU WILL BE
                 REQUIRED TO VACATE YOUR APARTMENT AT THE EXPIRATION OF YOUR LEASE.
                      BY ACCEPTING THIS RENEWAL, YOU ALSO ACCEPT AND AGREE TO ALL THE
                 TERMS AND CONDITIONS OF THE ATTACHED RIDER(S).
                      TF YOU WISH TO RENEW YOUR LEASE, INDICATE THE LENGTH OF THE LEASE
                 TERM XOU DESIRE. *KINDLY FILL IN THE NEW MONTHLY REYdTAL BELOW WHERE
                 INDICATED AND RETURN ALL COPIES ALONG WITH THE ADDITIONAL SECURITY
                 PAYABLE TO MILFORD MANAGEMENT.
                         CURRENT SECURITY DEPOSIT: $                2,995.00,
                 ONE YEAR L~ASE:(A)              COMMENCING: 05/01/13 ADDITIONAL SECURITY DEPOSIT;
                                                 ENDING      04/30/14
                 $3,395.00                                                $    400.00


                 TWO YEAR LEASE: (B)             COMMENCING: 05/01/13 ADDITIONAL SECURITY DEPOSIT:
                                                 ENDING      04/30/15
                 $3,595.00                                                $    600.00


                         *I (WE) THE UNDERSIGNED TENANT(S), AGREE SDI-DER INTO A
                          YEAR LEASE AT THE MONTHLY RENT OF $--~~'
                      I (WE) UNDERSTAND THAT THIS LEASE RENEWAL IS BET_NG OFFERED UNpER
                 THE SAME TERMS AND CONDITIONS RS OUR ORIGINAL LEASE AGREEMENT.
                 THIS FORM BECOMES A BINDING LEASE RENEWAL WHEN SIGNED BY THE OWNER
                 BELOW   D RETURNED TO THE TENANT.
                                 1                                                                               rp




                 STEVEN GREEK MD                       ,TEN_ANT DATA LANDLORD                                      DA

                                                        --_ ~^"r'*.* V~r~p T.T'.ARE. PLEASE SIGN YOUR NAME

                 STEVEN E. CsREER
                200 RECTOR PLACE
                35TH FLOOR                                                                            102
                NEW YORK, NY 10280                                                                   1-337/260
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